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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 VERNON HORN,
                                              CIVIL ACTION NO.
                     Plaintiff,

 v.
                                              JURY TRIAL DEMANDED
 SYNCHRONY BANK, and EQUIFAX
 INFORMATION SERVICES, LLC,

                     Defendants.



                                   COMPLAINT
      Plaintiff, Vernon Horn (hereinafter “Plaintiff”), by and through her attorneys,

the Law Offices of Robert S. Gitmeid & Associates, PLLC, and by way of Complaint

against Defendants, Synchrony Bank (“Synchrony”) and Equifax Information

Services, LLC (“Equifax”) alleges as follows:

                                  INTRODUCTION

                                         1.

      This is an action for damages brought by an individual consumer for

Defendants’ violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq.


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(the “FCRA”) and other claims related to unlawful credit reporting practices. The

FCRA prohibits furnishers of credit information from falsely and inaccurately

reporting consumers’ credit information to credit reporting agencies.

                                    PARTIES

                                         2.

      Plaintiff, Vernon Horn, is an adult citizen of Wisconsin.


                                         3.

      Plaintiff is a "consumer" as defined by 15 U.S.C. § 1681a(c) of the FCRA.

                                         4.

      Defendant Synchrony is a bank headquartered in the State of Utah that

furnishes consumer credit information to consumer reporting agencies.


                                         5.

      Defendant Equifax is a limited liability company that engages in the business

of maintaining and reporting consumer credit information.




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                           JURISDICTION AND VENUE

                                          6.

       This Court has subject matter jurisdiction over this matter pursuant to 28

U.S.C. § 1331 because the rights and obligations of the parties in this action arise

out of 15 U.S.C. § 1681 and 15 U.S.C. § 1681p, which provides that an action to

enforce any liability created under 15 U.S.C. § 1681 may be brought in any

appropriate United States District Court, without regard to the amount in

controversy.


                                          7.

       Venue in this district is proper pursuant to 28 U.S.C. § 1391(b)(1) because all

defendants are residents of the state of Georgia and Defendant Equifax maintains a

principal office in this district.

                             FACTUAL ALLEGATIONS

                                          8.

       Defendant Synchrony issued an account ending in 5114 to Plaintiff. The

account was routinely reported on Plaintiff’s consumer credit report.




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                                          9.

      The consumer report at issue is a written communication of information

concerning Plaintiff’s credit worthiness, credit standing, credit capacity, character,

general reputation, personal characteristics, or mode of living which serves as a

factor in establishing the consumer’s eligibility for credit to be used primarily for

personal, family, or household purposes as defined by 15 U.S.C. § 1681a(d)(1) of

the FCRA.


                                         10.

      On or about August 19, 2019, Plaintiff and Synchrony entered into a

settlement agreement for the above-referenced account. A recording of the

settlement agreement is available upon request.


                                         11.

      Pursuant to the terms of the settlement, Plaintiff was required to make one (1)

lump sum payment totaling $2,850.00 to settle and close her Synchrony credit

account. A proof of this payment is attached hereto as Exhibit A.


                                         12.

      Plaintiff, via her debt-settlement representative, timely made the requisite

settlement payment.


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                                         13.

      However, over half a year later, Plaintiff’s Synchrony account continued to

be negatively reported.

                                         14.

      In particular, on a requested credit report dated March 19, 2020, Plaintiff’s

Synchrony account was reported with a status of “CHARGE OFF”, and a balance of

$4,987.00. The relevant portion of Plaintiff’s credit report is attached hereto as

Exhibit B.

                                         15.

      This trade line was inaccurately reported. As evidenced by the enclosed

documents, the account was settled for less than full balance and must be reported

as settled with a balance of $0.00.


                                         16.

      On or about June 4, 2020, Plaintiff, via her attorney at the time, notified

Equifax directly of a dispute with completeness and accuracy of the reporting of

Plaintiff’s Synchrony account. A redacted copy of this letter and the certified mail

receipts are attached hereto as Exhibit C.




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                                         17.

      Therefore, Plaintiff disputed the accuracy of the derogatory information

reported by Synchrony to Equifax via certified mail in accordance with 15 U.S.C. §

1681i of the FCRA.


                                         18.

      In August 2020, Plaintiff requested an updated credit report for review. The

tradeline for Plaintiff’s Synchrony account remained inaccurate, as Defendants

failed to correct the inaccuracy. The relevant portion of the August 2020 credit report

is attached hereto as Exhibit D.

                                         19.

      Equifax did not notify Synchrony of the dispute by Plaintiff in accordance

with the FCRA; or alternatively Equifax did notify Synchrony and Synchrony failed

to properly investigate and delete the tradeline or properly update it on Plaintiff’s

credit reports.

                                         20.

      If Synchrony had performed a reasonable investigation of Plaintiff’s dispute,

Plaintiff’s Synchrony account would have been updated to reflect a “settled” status

with a balance of $0.00.


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                                         21.

      Despite the fact that Synchrony has promised through its subscriber

agreements or contracts to accurately update accounts, Synchrony has nonetheless

willfully, maliciously, recklessly, wantonly, and/or negligently failed to follow this

requirement as well as the requirements set forth under the FCRA, which has

resulted in the intended consequences of this information remaining on Plaintiff’s

credit reports.


                                         22.

      Defendants failed to properly maintain and failed to follow reasonable

procedures to assure maximum possible accuracy of Plaintiff’s credit information

and Plaintiff’s credit report, concerning the account in question, thus violating the

FCRA. These violations occurred before, during, and after the dispute process

began with Equifax.


                                         23.

      At all times pertinent hereto, Defendants were acting by and through their

agents, servants or employees, who were acting within the scope and course of their

employment, and under the direct supervision and control of the Defendants herein.




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                                         24.

      At all times pertinent hereto, the conduct of Defendants, as well as that of their

agents, servants or employees, was malicious, intentional, willful, reckless, and/or

negligent and in wanton disregard for federal law and the rights of the Plaintiff

herein.


                               CLAIM FOR RELIEF

                                         25.

      Plaintiff reasserts and incorporates herein by reference all facts and

allegations set forth above.

                                         26.

      Equifax is a “consumer reporting agency,” as codified at 15 U.S.C. § 1681a(f).

                                         27.

      Synchrony is an entity who, regularly and in the course of business, furnishes

information to one or more consumer reporting agencies about its transactions or

experiences with any consumer and therefore constitutes a “furnisher,” as codified

at 15 U.S.C. § 1681s-2.




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                                          28.

      Synchrony is reporting inaccurate credit information concerning Plaintiff to

one or more credit bureaus as defined by 15 U.S.C. § 1681a of the FCRA.

                                          29.

      Plaintiff notified Defendants directly of a dispute on the account’s

completeness and accuracy, as reported.


                                          30.

      Synchrony failed to complete an investigation of Plaintiff’s written dispute

and provide the results of an investigation to Plaintiff and the credit bureaus within

the 30-day statutory period as required by 15 U.S.C. § 1681s-2(b).


                                          31.

      Synchrony failed to promptly modify the inaccurate information on Plaintiff’s

credit report in violation of 15 U.S.C. § 1681s-2(b).

                                          32.

      Equifax failed to delete information found to be inaccurate, reinserted the

information without following the FCRA, or failed to properly investigate Plaintiff’s

disputes.




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                                         33.

      Equifax failed to maintain and failed to follow reasonable procedures to assure

maximum possible accuracy of Plaintiff’s credit report, concerning the account in

question, violating 15 U.S.C. § 1681e(b).


                                         34.

      As a result of the above violations of the FCRA, Plaintiff suffered actual

damages in one or more of the following categories: lower credit score, denial of

credit, embarrassment and emotional distress caused by the inability to obtain

financing for everyday expenses, rejection of credit card application, higher interest

rates on loan offers that would otherwise be affordable, and other damages that may

be ascertained at a later date.


                                         35.

      As a result of the above violations of the FCRA, Defendants are liable to

Plaintiff for actual damages, punitive damages, statutory damages, attorney’s fees

and costs.


     WHEREFORE, Plaintiff demands that judgment be entered against

Defendants as follows:




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      (a)    That judgment be entered against Defendants for actual damages

             pursuant to 15 U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o;

      (b)    That judgment be entered against Defendants for punitive damages

             pursuant to 15 U.S.C. § 1681n;

      (c)    That the Court award costs and reasonable attorney's fees pursuant to

             15 U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o; and

      (d)    That the Court grant such other and further relief as may be just and

             proper.

                        DEMAND FOR JURY TRIAL

      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff

demands trial by jury in this action of all issues so triable.


                                         Respectfully Submitted,

                                         Law Offices of Robert S. Gitmeid &
                                         Associates, PLLC

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